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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

Mark Fultz,                                                Civil Action No. 2:21-cv-3140-BHH

                    Plaintiff,

        v.
                                                            STIPULATION OF DISMISSAL
The Brick, LLC,                                                   (With Prejudice)

                    Defendant.



        Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff Mark

Fultz and Defendant The Brick, LLC, by and through their undersigned counsel, hereby stipulate

to the dismissal of this action in its entirety, with prejudice.

        Respectfully submitted this 28th day of January, 2022.



 LAW OFFICE OF ANTHONY BRADY, JR.                              LITTLER MENDELSON, PC
 By: s/Anthony J. Brady, Jr.                                   By: s/Katie E. Towery
 Anthony J. Brady, Jr.                                         William H. Foster
 SC Bar No. 15506                                              Federal Bar No. 6221
 1670-9 Springdale Drive                                       Email: bfoster@littler.com
 PMB 159                                                       Katie E. Towery
 Camden, SC 29020                                              Federal Bar No. 12861
 Telephone: (561) 603-6387                                     Email: ktowery@littler.com
 Email: ladbrady@gmail.com                                     110 E. Court Street, Suite 201
                                                               Greenville, SC 29601
 Attorneys for Plaintiff                                       Telephone: (864) 775.3193

                                                               Attorneys for Defendant
